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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND



TRUSTEES OF THE                           )
BAKERY AND CONFECTIONERY UNION            )
AND INDUSTRY INTERNATIONAL                )
PENSION FUND,                             )
                                          )
            Plaintiff,                    )
                                          )
v.                                        )                  Civil Action No.: PWG 20-cv-2619
                                          )
BROWN’S BUN BAKING CO.,                   )
                                          )
                        and               )
                                          )
GEMDAA ENTERPRISES LLC,                   )
                                          )
            Defendants.                   )
__________________________________________)


                               CONSENT JUDGMENT ORDER

       Upon joint motion by the Plaintiff Trustees of the Bakery and Confectionery Union and

Industry International Pension Fund and Defendant Brown’s Bun Baking Co., and finding

pursuant to Federal Rules of Civil Procedure 54(b) and 58 that there is no just reason for delay,

       IT IS HEREBY ORDERED that final judgment be granted to Plaintiff on its claim

against Defendant Brown’s Bun Baking Co. in the amount of $2,653,807.02.

Respectfully submitted,

/s/ Robert Alexander                                         /s/ Matthew I. Henzi
Robert Alexander (D.C. Bar # 4655673)                        MATTHEW I. HENZI (814496)
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                                                 David.rifkind@stinson.com

                                                 Counsel for Defendants



SO ORDERED, on January 19, 2022.                     /S/                             .
                                              Paul W. Grimm
                                              United States District Judge




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